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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                            )
                                                    )
           v.                                       )   DOCKET NO. 19-cr-10089-PBS
                                                    )
LIAM MACLEOD                                        )

                DEFENDANT’S REDACTED SENTENCING MEMORANDUM

       In this sentencing, the Court must weigh the crime—admittedly a troubling one—

alongside that substantial frailties afflicting Liam MacLeod. As is detailed at great length in the

presentence report, MacLeod suffers from a litany of physical and psychiatric ailments that have

left him disabled for nearly his entire adult life. In his isolation and desire for social contact, he

joined an online dating service. Far from finding companionship, his experience only served to

remind him of his own loneliness. Embittered, mentally disorganized, and often under the

influence of alcohol, he lashed out. In view of MacLeod’s substantial medical needs, and

because his conduct was the product of unique circumstances that are unlikely to recur provided

he remains sober and compliant with psychiatric care, MacLeod requests that the Court impose a

sentence of 3 years probation.1 Such a sentence would represent only a modest variance from

the undisputed advisory guideline sentencing range of 10-16 months and is manifestly sufficient

but not greater than necessary to achieve the four purposes of sentencing set forth in 18 U.S.C. §

3553(a)(2).




1
  Should the Court determine that a more punitive sanction is necessary, MacLeod asks the Court to
consider a period of home confinement in lieu of incarceration. As is noted in the presentence report,
MacLeod’s advisory guideline sentencing range falls in Zone C. However, MacLeod maintains that home
confinement is unnecessary and impractical in view of his ongoing medical needs and present living
situation.
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                                   GUIDELINES ANALYSIS

       The court must “begin sentencing proceedings by correctly calculating the applicable

Guideline range.” Gall v. United States, 552 U.S. 38, 49 (2007). MacLeod concurs with the

PSR’s application of the Sentencing Guidelines. The presentence report groups Counts 1-4 for

guideline calculation purposes and assigns a base offense level of 12 under USSG §2A6.1(a)(1).

Because the offense involved more than two threats, an addition two-level increase occurs.

USSG §2A6.1(b)(2). After accounting for acceptance of responsibility, the total offense level is

12. MacLeod has a criminal history score of zero and falls in criminal history category I,

yielding an advisory guideline sentencing range of 10-16 months (Zone C).

              MACLEOD’S PERSONAL HISTORY AND CHARACTERISTICS

       Liam MacLeod’s personal history has been shaped by trauma in his childhood and an

array of psychiatric and medical conditions in his adulthood.




                                                                                             .




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       MacLeod’s various ailments have been life-defining, rendering him unable to work for

decades. His only means of supporting himself consists of a modest monthly disability payment

and food stamps. For approximately twenty years, MacLeod lived in subsidized housing in

Beverly. Because he is largely estranged from his family, MacLeod’s neighbors were his main

social supports. Two have submitted letters of support and are attached. See Letters of Ann




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Granmaison and Gale Bowers.

        Sadly, due to his conviction in this matter, MacLeod was evicted in September 2019. At

the recommendation of his supervising probation officer, Tom Mullen, he secured a room in a

sober house,                             . This has proven to be a workable solution, at least on

an interim basis, as the sober home offers a structured environment and is convenient to Mr.

MacLeod’s treatment providers. While the loss of his housing was a major disruption to Mr.

MacLeod’s life, it is notable that he has maintained stability and sobriety in the midst of this

stressor.




                                                                  His temporary sponsor, David

Bowden, has also supplied a letter of support. See Letter of David Bowden.




2
 In the presentence interview, MacLeod identified September 2017 as the approximate time period when
he stopped drinking and began attending meetings. However, some of the offense conduct clearly took
place in October, November, and even December. Undersigned counsel suggest that MacLeod may not
be an accurate historian as to exactly when his drinking ceased completely.


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                                        3553(a) FACTORS

       Under 18 U.S.C. § 3553(a), the Court should impose a sentence that is “sufficient but not

greater than necessary” to achieve the four purposes of sentencing set forth in Section

3553(a)(2). The sentence must: 1) reflect the seriousness of the offense, promote respect for the

law, and provide just punishment for the offense; 2) afford adequate deterrence to criminal

conduct; 3) protect the public from further crimes of the defendant; and 4) provide the defendant

with needed educational or vocational training, medical care, or other correctional treatment in

the most effective manner. 18 U.S.C. §3553(a)(2). MacLeod contends that a probationary

sentence, providing for supervision of his mental health conditions and sobriety, will satisfy the

goals of sentencing.

       MacLeod is a 48 year man with no adult criminal history and a well-documented array of

serious medical and psychiatric conditions. Certainly, given MacLeod’s medical/psychiatric

needs, a probationary sentence would promote him receiving needed medical care and treatment

in the most effective manner. The Bureau of Prisons (BOP) has faced persistent medical staffing

challenges and some BOP institutions suffer vacancy rates of 40% or higher; in some instances,

the already depleted medical staff is assigned guard duties and other security-related tasks

drawing them away from medical duties. See Office of the Inspector General, U.S. DoJ, Review

of the Federal Bureau of Prisons’ Medical Staffing Challenges, March 20163; USA Today,

Nurses Thrust Into Guard Duty at Federal Prisons, April 26, 2016.4 Moreover, the overt nature

of MacLeod’s CD and TD conditions would likely ostracize him and make him uniquely



3
 Available at https://oig.justice.gov/reports/2016/e1602.pdf
4
 Available at https://www.usatoday.com/story/news/nation/2016/04/26/nurses-federal-prisons-public-
health-service-security/83517298/


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vulnerable to harassment or worse.

          MacLeod also suggests that the interests of specific deterrence and protecting the public

from further crimes can be best served by closely monitoring MacLeod’s sobriety and

compliance with mental health treatment. Since being placed on pretrial supervision, MacLeod

has complied with all terms of release, demonstrating that he is amenable to supervision and will

comply with conditions of probation set by the Court. Lastly, MacLeod maintains that a

probationary sentence would reflect the seriousness of the offense, promote respect for the law,

and provide just punishment. Probation does not entail the absence of punishment. As the

Supreme Court noted in Gall, in upholding the sentencing court’s imposition of probation on a

defendant whose GSR was 30-37 months imprisonment, “offenders on probation are nonetheless

subject to several standard conditions that substantially restrict their liberty.” 552 U.S. 38, 48

(2007).

          Moreover, MacLeod has already received a substantial collateral punishment for his

conduct in the form of the loss of his subsidized housing, where he had lived for approximately

two decades. As several courts have recognized, collateral consequences of conviction are

relevant to the “need” for the sentence imposed to reflect just punishment. See, e.g., United

States v. Garate, 543 F.3d 1026, 1028 (8th Cir. 2008) (overruling prior holding that it was

inappropriate for the district court to consider the lasting effects of being required to register as a

sex offender); United States v. Pauley, 511 F.3d 468, 474-75 (4th Cir. 2007) (affirming the

district court’s finding that the defendant “warranted a lower sentence because he lost his

teaching certificate and his state pension as a result of his conduct,” because “[c]onsideration of

these facts is consistent with § 3553(a)’s directive that the sentence reflect the need for just

punishment,” and “adequate deterrence”); United States v. Gardellini, 545 F.3d 1089 (D.C. Cir.




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2008) (affirming below-guideline sentence based in part on court’s findings that defendant

suffered substantial mental and personal stress as a result of his prosecution).

                                         CONCLUSION

       For the foregoing reasons, MacLeod’s asks the Court to consider his medical and

psychiatric challenges, how they have affected the trajectory of his life, and conclude that they

weigh in favor of a probationary sentence. Such a sentence is “sufficient but not greater than

necessary” to do justice in this case. He asks the Court to impose no fine, as he lacks the means

to pay one.

                                              LIAM MACLEOD
                                              By his attorney,



                                              /s/ Scott Lauer
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                                 CERTIFICATE OF SERVICE

       I, Scott Lauer, hereby certify that this document and accompanying attachment was filed
under seal via in-hand delivery and will be sent electronically to Assistant U.S. Attorney Jason
Casey, as well as to Senior U.S. Probation Officer Jennifer Broquist by email, on October 10,
2019.

                                            /s/ Scott Lauer
                                            Scott Lauer




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